

Matter of Brianna M.F. (2018 NY Slip Op 00951)





Matter of Brianna M.F.


2018 NY Slip Op 00951


Decided on February 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 9, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


1525 CAF 16-01056

[*1]IN THE MATTER OF THE ADOPTION OF BRIANNA M.F. LAURA B.F., PETITIONER-APPELLANT; 	 ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, AMBER W., RESPONDENTS-RESPONDENTS, ET AL., RESPONDENT. (APPEAL NO. 4.)






DAVID J. PAJAK, ALDEN, FOR PETITIONER-APPELLANT.
DANIEL J. HARTMAN, BUFFALO, FOR RESPONDENT-RESPONDENT AMBER W. 
DAVID C. SCHOPP, ATTORNEY FOR THE CHILD, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (CHARLES D. HALVORSEN OF COUNSEL).


	Appeal from an order of the Family Court, Erie County (Margaret O. Szczur, J.), entered May 26, 2016 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Chendo O. , 175 AD2d 635, 635 [4th Dept 1991]).
Entered: February 9, 2018
Mark W. Bennett
Clerk of the Court








